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                 1     THEODORE J. BOUTROUS, JR., SBN 132099
                       tboutrous@gibsondunn.com
                 2     MICHAEL H. DORE, SBN 227442
                       mdore@gibsondunn.com
                 3     JILLIAN LONDON, SBN 319924
                       jlondon@gibsondunn.com
                 4     MARISSA MULLIGAN, SBN 319734
                 5
                       mmulligan@gibsondunn.com
                       GIBSON, DUNN & CRUTCHER LLP
                 6     333 S Grand Avenue
                       Los Angeles, California 90071
                 7     Telephone: (213) 229-7000
                       Facsimile: (213) 229-7520
                 8
                       SARAH MATTHEWS, SBN 294864
                 9     sarah.matthews@propublica.org
                       PROPUBLICA
            10         115 Avenue of the Americas, 13th Fl.
                       New York, NY 10013
            11         Phone: (212) 514-5250
            12         Attorneys for Plaintiff
            13

            14                             IN THE UNITED STATES DISTRICT COURT
            15                         FOR THE SOUTHERN DISTRICT OF CALIFORNIA
            16

            17

            18         PRO PUBLICA, INC.,                                                '22CV1455 BTM KSC
                                                                        Civil Action No. ___________
            19                        Plaintiff,
                                                                         COMPLAINT
            20                  v.

            21        COMMANDER DEREK D. BUTLER,
                      JAGC, USN; VICE ADMIRAL DARSE E.
            22        CRANDALL, JR., JAGC, USN; CARLOS
                      DEL TORO; CAROLINE D. KRASS; and
            23        LLOYD J. AUSTIN, III

            24
                                         Defendants.
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Gibson, Dunn &
 Crutcher LLP


                                      PROPUBLICA, INC. V. COMMANDER DEREK BUTLER, JAGC, USN, ET AL.
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                 1                      NOTICE OF PARTY WITH FINANCIAL INTEREST
                 2              Pro Publica, Inc. (“ProPublica”) is a Delaware nonprofit corporation that is tax-
                 3     exempt under section 501(c)(3) of the Internal Revenue Code. It has no statutory
                 4     members and no stock.
                 5

                 6     Dated: September 27, 2022
                 7

                 8                                                      /s/ Theodore J. Boutrous, Jr.
                 9                                                     Theodore J. Boutrous, Jr.
            10
                                                                       Counsel for Plaintiff
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                                      PROPUBLICA, INC. V. COMMANDER DEREK BUTLER, JAGC, USN, ET AL.
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                 1              Plaintiff Pro Publica, Inc. (“Plaintiff” or “ProPublica”), by and through its
                 2     undersigned attorneys, alleges against Defendants Commander Derek D. Butler; Vice
                 3     Admiral Darse E. Crandall Jr.; Carlos Del Toro; Caroline D. Krass; and Lloyd J.
                 4     Austin, III (collectively, “Defendants”), as follows:
                 5                                          INTRODUCTION
                 6              1.    ProPublica is a nonprofit news organization that publishes investigative
                 7     journalism in the public interest. ProPublica brings this case on behalf of the public
                 8     and press to obtain an immediate injunction preventing the United States Navy and its
                 9     officers from continuing its unconstitutional policy of denying timely public access to
            10         military court records. This matter is extremely urgent because the Navy is using this
            11         policy to unlawfully shield from public view all court records—aside from two
            12         documents that favor the prosecution—in the high-profile trial of Seaman Apprentice
            13         Ryan Mays, currently under way on the San Diego Naval Base. See United States v.
            14         Mays, SR/E-1, USN (the “Mays case”).
            15                  2.    Mr. Mays is being prosecuted for allegedly setting the fire that destroyed
            16         the U.S.S. Bonhomme Richard warship in July 2020. His trial is likely to conclude on
            17         September 29, 2020.
            18                  3.    The Navy is attempting to keep secret numerous court records that call
            19         into question its controversial prosecution of Mr. Mays, as well as docket information
            20         that would allow the public to meaningfully follow these proceedings. The withheld
            21         court records include, among others, the Navy’s own preliminary hearing officer’s
            22         report recommending that the case not proceed to trial due to a lack of evidence,
            23         multiple motions by the defense, including one claiming the Navy’s refusal to disclose
            24         these records violates his Sixth Amendment right to a public trial, a motion by the
            25         government to exclude from evidence the Navy’s own report documenting widespread
            26         safety failures leading up to the fire, and the military judge’s written orders on such
            27         motions.
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                 1
                                4.    There is no legitimate basis for withholding these records. ProPublica
                 2
                       understands they have been discussed in open court, and they are not under seal,
                 3
                       classified, or otherwise restricted in any way. Court records of this kind would be
                 4
                       available to the public in any other criminal court in the country.
                 5
                                5.    The Navy’s policy of withholding these records from the public while
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                       they are timely and newsworthy amounts to government-imposed censorship. It
                 7
                       deprives the press and public of information needed to meaningfully understand these
                 8
                       proceedings as they are occurring and to assess whether justice is ultimately done.
                 9
                       This constitutes a clear violation of the press and the public’s First Amendment and
            10
                       common law rights of access to court proceedings and records. Absent immediate
            11
                       injunctive relief by this Court, ProPublica and the public will suffer irreparable harm.
            12
                                6.    Commander Derek D. Butler, the military judge presiding over Mr. Mays’
            13
                       case, has denied both ProPublica’s motion to release the records, as well as Mr. Mays’
            14
                       own motion to release the records. Commander Butler’s position was that he lacks the
            15
                       authority to order the release of any court records under Article 140a of the Uniform
            16
                       Code of Military Justice.
            17
                                7.    Commander Butler’s interpretation of Art. 140a was based on 2018
            18
                       guidance issued by the former Department of Defense General Counsel Paul C. Ney,
            19
                       Jr. (the “Ney Memo”) and instructions from the Navy’s Office of the Judge Advocate
            20
                       General (“OJAG”) issued pursuant to the Ney Memo in 2020. Article 140a provides
            21
                       that “The Secretary of Defense . . . shall prescribe uniform standards and criteria for
            22
                       conduct . . . at all stages of the military justice system . . . including pretrial, trial, post-
            23
                       trial, and appellate processes, using, insofar as practicable, the best practices of Federal
            24
                       and State courts[.]” Among the different types of conduct the Secretary of Defense is
            25
                       supposed to prescribe standards for is the “facilitation of public access to docket
            26
                       information, filings, and records . . . .” 10 U.S.C. 940a (“Art. 140a” or the “Article”).
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                 1
                              8.        Upon information and belief, neither Secretary of Defense Lloyd J. Austin
                 2
                       III, nor his predecessor, has issued such uniform standards and criteria for conduct as
                 3
                       required by the Article.
                 4
                              9.        The Criminal Law Division of OJAG has similarly refused to disclose
                 5
                       these records, also citing Art. 140a.
                 6
                              10.       But contrary to Commander Butler’s and OJAG’s interpretation, Congress
                 7
                       adopted Art. 140a in 2016 precisely to ensure timely public access to court-martial
                 8
                       records and docket information—not to be used as a shield to prohibit the release of
                 9
                       such records. Indeed, the Army has published court records in high-profile court-
            10
                       martial proceedings such as this within 24–48 hours and, unlike the Navy, publishes
            11
                       docket information that includes the full name of the accused and the various
            12
                       proceedings that have occurred in each case. See U.S. Army Court-Martial Public
            13
                       Record System, https://www.jagcnet.army.mil/ACMPRS/cases/docket-case-list.
            14
                       Similarly, military commission proceedings in Guantanamo release unclassified court
            15
                       records within one business day and publish meaningful public dockets for each of
            16
                       those cases. 1
            17
                              11.       ProPublica and a coalition of 39 of the top news media and journalism
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                       organizations around the country submitted a letter to Defense Department General
            19
                       Counsel Caroline D. Krass, asking that she issue corrected guidance on Art. 140a to
            20
                       ensure the prompt release of the records in the Mays case as well as docket
            21

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            27         1
                                U.S. Dep’t of Def., Regulation for Trial by Military Commission, ch. 19,
            28         https://www.mc.mil/portals/0/2011%20regulation.pdf; see also
Gibson, Dunn &
                       https://www.mc.mil/CASES.aspx.
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                 1
                       information. 2 That letter, as well as another letter filed in support of ProPublica’s by
                 2
                       the National Institute of Military Justice (“NIMJ”), has gone unanswered. 3
                 3
                             12.     ProPublica has no other avenue to secure release of these court records
                 4
                       and docket information, other than through this action.
                 5
                                                   JURISDICTION AND VENUE
                 6
                             13.    This Court has subject matter jurisdiction over this action and personal
                 7
                       jurisdiction over defendants pursuant to 28 U.S.C. §§ 1331 and 1361. Declaratory
                 8
                       relief is available pursuant to the Declaratory Judgments Act, 28 U.S.C. § 2201.
                 9
                             14.    Venue lies in this district under 28 U.S.C. § 1391(e)(1) because
            10
                       defendants are officers and employees of the United States or its agencies operating
            11
                       under color of law, and a substantial part of the events or omissions giving rise to these
            12
                       claims occurred and are occurring in this judicial district.
            13
                                                               PARTIES
            14
                             15.    Plaintiff ProPublica is an independent, nonpartisan, nonprofit newsroom
            15
                       that produces investigative journalism with moral force. With a team of over 100
            16
                       dedicated journalists across the country, ProPublica covers a range of topics including,
            17
                       among others, government, politics, and criminal justice. It has reported extensively
            18
                       on the Navy and other Armed Services and will continue to do so. Founded in 2007,
            19
                       ProPublica has won numerous awards, including six Pulitzer Prizes. Most recently,
            20
                       ProPublica reporters Megan Rose, T. Christian Miller, and Robert Faturechi won the
            21
                       2020 Pulitzer Prize for national reporting for their investigation into America’s 7th
            22
                       Fleet after a series of deadly naval accidents in the Pacific. See
            23
                       https://www.pulitzer.org/winners/t-christian-miller-megan-rose-and-robert-faturechi-
            24

            25         2
                                Media Coalition Letter to Caroline D. Krass (Sept. 13, 2022),
            26         https://www.documentcloud.org/documents/22415281-2022-09-13-us-v-mays-news-
                       media-coalition-letter.
            27         3
                                ProPublica did not hear from Ms. Krass’s office until it notified her of this
            28         lawsuit. On today’s date, an official from her office stated she was “reviewing the
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                       matter” but declined to provide a substantive response to the request for court access.
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                 1
                       propublica. ProPublica is a 501(c)(3) corporation incorporated in Delaware, with its
                 2
                       principal place of business at 155 Avenue of the Americas, 13th floor, New York, NY
                 3
                       10013.
                 4
                                16.   Vice Admiral Darse E. Crandall Jr. is the senior uniformed attorney in the
                 5
                       U.S. Navy and commanding officer of the Judge Advocate General Corps of the U.S.
                 6
                       Navy. In that capacity, he is the principal legal advisor to the Navy Chief of Staff and
                 7
                       Secretary of the Navy on matters of military justice and is responsible for interpreting
                 8
                       laws applying to the Department of the Navy, formulating policies and procedures in
                 9
                       regard to review of courts-martial and managing the administration of military justice
            10
                       in the Navy. His predecessor, John G. Hannink, issued the 2020 JAG instructions that
            11
                       form part of the basis for the Navy’s current position denying public access to the court
            12
                       records in the Mays case and other court-martial proceedings. JAG Instr. 5813.2,
            13
                       https://www.jag.navy.mil/library/instructions/JAGINST_5813.2.pdf. Vice Admiral
            14
                       Crandall is named in his official capacity only.
            15
                                17.   Defendant Carlos Del Toro is Secretary of the Navy and, in that capacity,
            16
                       is directly superior to Vice Admiral Crandall. He is named in his official capacity
            17
                       only.
            18
                                18.   Defendant Caroline D. Krass is General Counsel to the Department of
            19
                       Defense and in that capacity should issue corrected guidance on how the services must
            20
                       interpret Art. 140a. Her predecessor, Paul C. Ney, Jr., issued a memorandum in 2018
            21
                       that the Navy has cited, along with its instructions, JAG Instr. 5813.2, as the basis for
            22
                       its decision to deny public access to the court records in the Mays case and other court-
            23
                       martial proceedings. Ms. Krass is named in her official capacity only.
            24
                                19.   Defendant Commander Derek D. Butler is the military judge who has
            25
                       been designated by the Navy to preside over the Mays case. He is the military judge
            26
                       that denied ProPublica’s motion to release the court records at issue here, as well as
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                 1
                       Mr. Mays’ own motion to release the records. He is an officer in the U.S. Navy and
                 2
                       military employee of the Department of Defense.
                 3
                                20.   Defendant Lloyd J. Austin, III is the Secretary of Defense, the chief
                 4
                       executive officer of the Department of Defense, the agency of the U.S. government
                 5
                       charged with coordinating and supervising all functions of the government concerned
                 6
                       with the Armed Forces of the United States. He is required under Article 140a to
                 7
                       prescribe “uniform standards and criteria for” the “facilitation of public access to
                 8
                       docket information, filings, and records. . . .” He is named in this action in his official
                 9
                       capacity only.
            10
                                                      FACTUAL ALLEGATIONS
            11
                                   ProPublica’s interest in the United States v. Mays court-martial
            12
                               and efforts to secure release of the court record and docket information
            13                  21.   In July 2020, a fire destroyed the U.S.S. Bonhomme Richard, marking
            14         “one of the worst noncombat warship disasters in recent memory.” Sailor facing court
            15         martial in fire that destroyed Navy ship, Associated Press & Fox5 San Diego (Feb. 25,
            16         2022), https://fox5sandiego.com/news/local-news/sailor-facing-court-martial-in-fire-
            17         that-destroyed-navy-ship/.
            18                  22.   On July 28, 2021, just over a year later, the Navy charged Seaman
            19         Apprentice Ryan Mays with violations of the Uniform Code of Military Justice in a
            20         case that has attracted widespread attention across the United States and around the
            21         world. See, e.g., Navy report blames crew for devastating fire on the Bonhomme
            22         Richard, BBC (Oct. 19, 2021), https://www.bbc.com/news/world-us-canada-
            23         58975431; John Ismay, Navy Charges Sailor With Arson in Fire That Destroyed
            24         Warship, N.Y. Times (July 29, 2021), https://www.nytimes.com/2021/07/29/
            25         us/politics/bonhomme-richard-fire.html?smid=url-share.
            26                  23.   Mr. Mays is currently on trial for these charges at the San Diego Naval
            27         Base. Trial commenced September 19, 2022, and is expected to end on September 29.
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                 1
                                24.   Mr. Mays has maintained his innocence and claimed the Navy is seeking
                 2
                       to make him a “scapegoat,” proceeding with his court-martial even though the Navy’s
                 3
                       preliminary hearing officer recommended against it. Bill Feather, Charges Upheld,
                 4
                       Seaman Accused in USS Bonhomme Richard Fire to Face Court-Martial, NBC7 San
                 5
                       Diego & Associated Press (Feb. 25, 2022), https://www.nbcsandiego.com/news/
                 6
                       local/military/charges-upheld-seaman-accused-in-bonhomme-richard-fire-to-face-
                 7
                       court-martial/2836636/.
                 8
                                25.   Megan Rose, a Pulitzer Prize-winning reporter at ProPublica, has been
                 9
                       reporting on Mr. Mays’ court-martial, but her reporting has been hampered by a lack
            10
                       of access to the court records and public docket sheet in the case. While she has
            11
                       nevertheless reported on this case and the origins of the fire using other records and
            12
                       interviews with relevant parties, see Megan Rose, The Navy Accused Him of Arson. Its
            13
                       Own Investigation Showed Widespread Safety Failures, ProPublica (Sept. 23, 2022),
            14
                       https://www.propublica.org/article/bonhomme-richard-fire-safety-lapses, her inability
            15
                       to access the court record has constrained her reporting.
            16
                                26.   Upon information and belief, the court records at issue have been
            17
                       submitted and discussed extensively in open court. They are not classified, under seal,
            18
                       or otherwise restricted. They include, among other items, multiple pre-trial defense
            19
                       motions, written orders by the court, the preliminary hearing officer’s report, and the
            20
                       prosecution’s motion to exclude from evidence the Navy’s report concluding that
            21
                       leaders within the Navy had failed to ensure the ship’s safety and allowed it to become
            22
                       a fire hazard. See Rose, supra, ¶ 25.
            23
                                27.   On July 7, 2022, Ms. Rose requested via email all court files in the case
            24
                       from the Navy’s Office of the Judge Advocate General (“OJAG”).
            25
                                28.   Between July 13 and August 13, 2022, OJAG repeatedly denied Ms.
            26
                       Rose’s request, relying on shifting reasons. First, OJAG personnel claimed Exemption
            27
                       7(A) of the federal Freedom of Information Act (“FOIA”) prevented the disclosure.
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                 1
                     That exemption authorizes agencies to withhold “records or information compiled for
                 2
                     law enforcement purposes, but only to the extent that the production of such law
                 3
                     enforcement records or information . . . could reasonably be expected to interfere with
                 4
                     enforcement proceedings.” 5 U.S.C. § 552(b)(7)(A).
                 5
                              29.   In a phone call on August 3 and email on August 5, counsel for
                 6
                     ProPublica explained that this exemption could not possibly apply here, since these
                 7
                     records had all been submitted without seal and discussed in open court already.
                 8
                     Therefore, their public release could not “interfere” with the proceedings.
                 9
                     ProPublica’s counsel also explained that FOIA exemptions are irrelevant because these
            10
                     are court records, subject to a separate and additional right of contemporaneous public
            11
                     access under both the First Amendment and common law.
            12
                              30.   In the phone call on August 3, OJAG personnel could not identify any
            13
                     authority to support its claim that Exemption 7(A) applies to records already submitted
            14
                     with the court. OJAG personnel then claimed it could not release the records due to its
            15
                     internal protocol adopted pursuant to Art. 140a of the Uniform Code of Military
            16
                     Justice. OJAG personnel stated that, due to the Privacy Act, 5 U.S.C § 552a, the Navy
            17
                     interprets Art. 140a to only permit release of court records if the accused is convicted
            18
                     and then only after the record has been “certified” following trial. OJAG personnel
            19
                     stated that even in cases ending in conviction, the record released to the public would
            20
                     only include certain limited portions and exclude any attachments to motions.
            21
                              31.   On August 8, ProPublica’s counsel advised OJAG via email that, while
            22
                     ProPublica did not believe it necessary, Mr. Mays had agreed to sign a Privacy Act
            23
                     waiver to facilitate the release of the records as soon as possible, and prior to an
            24
                     upcoming hearing in the Mays case on August 17. Counsel for Mr. Mays also directly
            25
                     requested that OJAG release the records and advised that Mr. Mays waived any
            26
                     privacy interests.
            27

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                 1
                           32.    On August 13, OJAG personnel advised ProPublica that it still would not
                 2
                     release the records. It no longer asserted the Privacy Act as the basis for its decision.
                 3
                     Instead, OJAG simply stated that it was required to withhold the records due to its
                 4
                     interpretation of Art. 140a and the Navy’s instructions interpreting that article. It also
                 5
                     reasserted its claim that Exemption 7(A) applied, but again failed to cite any authority
                 6
                     demonstrating that this exemption could apply to records already submitted and
                 7
                     discussed in open court. OJAG ignored ProPublica’s request for the records under the
                 8
                     First Amendment and common law, claiming that because the records had been
                 9
                     requested under FOIA, ProPublica was “bound” by its exemptions. Yet, in the same
            10
                     email, OJAG inexplicably stated that “ProPublica did not file a FOIA request for the
            11
                     documents[.]” Finally, OJAG personnel stated that she would be “on reserve duty”
            12
                     until September 14 and would not be checking email until she returned.
            13
                           33.    On August 13, counsel for ProPublica responded to OJAG identifying the
            14
                     flaws in its analysis and explaining again that the requested records are subject to
            15
                     disclosure under the First Amendment, common law, and FOIA. OJAG never
            16
                     responded.
            17
                           34.    Despite OJAG’s claimed prohibition on releasing any court records unless
            18
                     the accused is convicted and then only after the record has been “certified” after trial,
            19
                     the government has disclosed two documents that happen to support the prosecution’s
            20
                     case in United States v. Mays—the charge sheet and search warrant, including the
            21
                     supporting affidavit. 4
            22
                           35.    On August 15, 2022, ProPublica submitted a letter to Commander Butler,
            23
                     the military judge assigned to Mays’ case, requesting immediate release of the court
            24
                     records and contemporaneous access to future court filings or, alternatively,
            25
                     4
            26                A U.S. district court granted a motion by federal prosecutors to unseal search
                     warrant materials on August 2, 2021. In the Matter of the Search of Google LLC, No.
            27       20-mj-3733, ECF No. 4 (S.D. Cal. Aug. 3, 2021); see also Newly released search
                     warrant gives new info into fire on Bonhomme Richard and sailor accused of starting
            28       it, CBS8 (Aug. 4, 2021), https://www.cbs8.com/article/news/national/military-
Gibson, Dunn &
                     news/bonhomme-richard-search-warrant/509-cfab508e-7fd7-4952-99ed-5d705b88715.
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                 1
                     clarification that Mr. Mays could exercise his First and Sixth Amendment rights to
                 2
                     disclose the records himself.
                 3
                              36.   On August 16, 2022, Mr. Mays filed his own motion requesting release of
                 4
                     the court records invoking his Sixth Amendment right to a fair and public trial.
                 5
                              37.   On August 17, 2022, Commander Butler presided over a preliminary
                 6
                     hearing, in which the government objected to ProPublica’s request, claiming that
                 7
                     ProPublica did not have standing to seek release of the records. ProPublica requested
                 8
                     an opportunity to address this argument, explaining that it is well-settled in civilian
                 9
                     courts that members of the press and public do have standing to intervene in court
            10
                     cases for the purpose of asserting the public’s right of access to the proceedings and
            11
                     court records. Commander Butler denied ProPublica’s request to address standing.
            12
                     After a brief recess, he stated that he would not consider ProPublica’s letter at all but
            13
                     would permit ProPublica to submit a formal motion restating its request for access.
            14
                              38.   On August 22, 2022, ProPublica submitted a formal motion, again
            15
                     seeking contemporaneous access to the court records based on the First Amendment
            16
                     and common law. See Motion for Appropriate Relief at 2,
            17
                     https://www.documentcloud.org/documents/22276015-
            18
                     202208022_propublica_motion_final?responsive=1&title=1. ProPublica also
            19
                     requested access to a public docket to enable the public to meaningfully follow the
            20
                     proceedings.
            21
                              39.   On August 24, 2022, the prosecution filed an opposition to ProPublica’s
            22
                     motion. It did not contest that ProPublica had standing or that the First Amendment
            23
                     and common law rights of access applied to the court records but claimed it was too
            24
                     difficult to release records while a court-martial is happening. The opposition stated
            25
                     that military courts do not have a clerk to coordinate records, and military courts have
            26
                     to operate in a fluid environment, such as a war zone. But the government conceded
            27
                     that the military had published court-martial records during ongoing proceedings in
            28
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                 1
                     other high-profile cases, including United States v. Bergdahl, and that it could do so
                 2
                     here. See Govt. Response to Defense & ProPublica Motions for Release of
                 3
                     Documents, https://www.documentcloud.org/documents/22276337-
                 4
                     20220824_govt_response_to_pp_defense_motion?responsive=1&title=1. And, of
                 5
                     course, this court-martial is taking place on the San Diego Naval Base, not in a war
                 6
                     zone.
                 7
                              40.   In an order issued on August 30, 2022, Commander Butler recognized
                 8
                     that ProPublica had standing to seek access to the court records but denied its motion
                 9
                     along with Mr. Mays’ motion, finding that the court lacked authority to grant the
            10
                     requested relief because Art. 140a “controls this process,” and it “does not authorize
            11
                     this Court to release court filings or to order the Government to do so.” See Order at 3,
            12
                     https://bit.ly/3QySGc3. The military judge denied access to a public docket for the
            13
                     same reason. Id. Commander Butler similarly denied a request “to issue clarifying
            14
                     guidance to the Accused about his ability to release the documents.” Id. at 4. The
            15
                     court suggested that the “proper avenue to pursue the release of these records” may be
            16
                     in an Article III court. Id. at 2.
            17
                              41.   Commander Butler’s August 30 decision would be withheld from the
            18
                     public, along with the rest of the court record, except that ProPublica, as a litigant, was
            19
                     provided with a copy of the ruling and published it as part of a story reporting on the
            20
                     Navy’s continued denial of access to these records. See Megan Rose, The Navy is
            21
                     withholding court records in a high-profile ship fire case, ProPublica (Sept. 8, 2022),
            22
                     https://www.propublica.org/article/navy-bonhomme-fire-records.
            23
                              42.   On September 1, ProPublica again reengaged with OJAG. ProPublica
            24
                     spoke with Captain Chad Temple, Director of the Navy’s Criminal Law Division
            25
                     (Code 20) and asked that he publish the court records in a virtual reading room, as the
            26
                     government conceded it has done in other high-profile courts-martial. Mr. Temple
            27
                     stated that he would not do so and cited Art. 140a.
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                 1
                              43.   On September 13, ProPublica sent a letter to Department of Defense
                 2
                     General Counsel Caroline D. Krass requesting that she issue corrected guidance as
                 3
                     soon as possible that makes clear that Art. 140a, along with the First Amendment and
                 4
                     common law, require contemporaneous access to court-martial records as well as a
                 5
                     public docket, ensuring immediate release of the court records in the Mays case.
                 6
                     ProPublica was joined by the Reporters Committee for Freedom of the Press and 38
                 7
                     press organizations, including The Associated Press, Gannett Co., Inc, Hearst
                 8
                     Corporation, National Public Radio, Inc., The New York Times Company, and The
                 9
                     Washington Post, among others. ProPublica and Other News Orgs Urge Defense
            10
                     Dept. to Ensure Public Access to Military Court Records, ProPublica (Sept. 14, 2022),
            11
                     https://bit.ly/3DwubJt.
            12
                              44.   On September 19, the National Institute of Military Justice (“NIMJ”)
            13
                     wrote to Ms. Krass as well, endorsing ProPublica’s September 13 letter. The NIMJ
            14
                     explained that the “law already provides for the public’s right to attend court-martial
            15
                     proceedings and access [to] court filings and transcripts.” Letter at 1. NIMJ’s letter
            16
                     added that “UCMJ Articles 36, 140a, and by implication, 146, each call for the
            17
                     development of military practices and procedures that are consistent with American
            18
                     civilian courts” and that, “[i]nstead of such symmetry, it appears that military
            19
                     rulemaking has become increasingly divorced from civilian practice.” Letter at 2. The
            20
                     letter concluded that the military’s implementation of transparency initiatives like Art.
            21
                     140a “in ways that are contrary to the intent behind them . . . is contributing to a
            22
                     burgeoning military justice legitimacy crisis.” Id.
            23
                              45.   Ms. Krass did not acknowledge ProPublica’s or NIMJ’s letters until
            24
                     ProPublica contacted Ms. Krass’s office on September 23, 2022, to provide notice of
            25
                     this lawsuit and motion for a temporary restraining order and preliminary injunction.
            26
                     The same day, Brent C. Harvey, Attorney-Manager in Ms. Krass’s office, responded
            27
                     that it “appears” the media coalition’s September 13 letter “was overlooked and not
            28
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                 1
                     sent on to Ms. Krass” but that he would do so now. ProPublica requested that Ms.
                 2
                     Krass respond by the end of the day. She did not. On September 27, 2022, Ms.
                 3
                     Krass’s office contacted ProPublica’s counsel via email and stated that she “is
                 4
                     reviewing the matter, and carefully considering [ProPublica’s] comments,” but
                 5
                     declined to provide any substantive response to the letter.
                 6
                           46.    ProPublica has no other avenue to vindicate its First Amendment and
                 7
                     common law rights of contemporaneous access to the court records in the Mays case
                 8
                     other than through this Court. The military appellate courts are courts of limited
                 9
                     jurisdiction, 5 and the military’s highest appellate court has specifically held that it
            10
                     lacks jurisdiction to consider writ petitions from news organizations seeking to compel
            11
                     the trial court to grant public access to court-martial records or proceedings. Ctr. for
            12
                     Const. Rts. v. United States, 72 M.J. 126, 129–30 (C.A.A.F. 2013).
            13
                           47.    FOIA is subject to lengthy delays and numerous exemptions and is thus
            14
                     not an adequate substitute for the First Amendment or common law rights of
            15
                     contemporaneous access to court proceedings and records, as set forth below. By way
            16
                     of example, it took the Navy five months to resolve each of ProPublica’s two most
            17
                     recent FOIA appeals in other matters, and even after these lengthy delays, it took the
            18
                     Navy almost another two months to release additional, heavily redacted records due to
            19
                     those decisions.
            20
                                 Congress enacted Art. 140a to ensure timely public access to
            21
                                       military court records and docket information
            22             48.    Contrary to the Navy’s position, Congress adopted Art. 140a in 2016 to
            23       promote transparency in the military court system by ensuring public access to court-
            24

            25
                     5
            26                Art. 66–67, UCMJ, 10 U.S.C. §§ 866(b) (intermediate appellate courts’
                     jurisdiction limited to (1) review of appeals by accused, (2) cases referred by Judge
            27       Advocate General, and (3) automatic appeals in cases involving certain sentences, such
            28       as confinement for 2 years or more), 867 (describing limited jurisdiction of highest
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                     military appellate court).
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                 1
                     martial filings, records, and docket information, consistent with access in civilian
                 2
                     courts. See 10 U.S.C. § 940a(a)(4).
                 3
                            49.    Congress passed the law following years of public outcry concerning
                 4
                     reports of widespread sex crimes in the military and calls from members of Congress
                 5
                     and the public for greater transparency. 6 Among other things, the law aimed to shed
                 6
                     light on how sexual assault crimes are handled by addressing the “lack of uniform,
                 7
                     offense-specific sentencing data from military courts, which makes meaningful
                 8
                     comparison and analysis of military and civilian courts ‘difficult, if not impossible.’”
                 9
                     David A. Schlueter, Reforming Military Justice: An Analysis of the Military Justice Act
            10
                     of 2016, 49 St. Mary’s L.J. 1, 113 (2017).
            11
                            50.    Article 140a requires the Secretary of Defense to “prescribe uniform
            12
                     standards and criteria . . . using, insofar as practicable, the best practices of Federal and
            13
                     State courts” to facilitate “public access to docket information, filings, and records,
            14
                     taking into consideration restrictions appropriate to judicial proceedings and military
            15
                     records.” 10 U.S.C. § 940a(a)(4). The standards and criteria must facilitate such
            16
                     public access “at all stages of the military justice system . . . including pretrial, trial,
            17
                     post-trial, and appellate processes.” Id.
            18
                            51.    According to a conference report by then-House Armed Services
            19
                     Committee Chairman Mac Thornberry (R-Tex.), Art. 140 aimed “to provide
            20
                     appropriate public access to military justice information at all stages of court-martial
            21
                     proceedings. At a minimum, the system developed for implementation should permit
            22
                     timely and appropriate access to filings, objections, instructions, and judicial rulings at
            23
                     the trial and appellate level.” 162 Cong. Rec. H6376-03, H6884 (daily ed. Nov. 30,
            24
                     6
            25                See, e.g., Emily Crockett, The war in Congress over rape in the military,
                     explained, Vox (June 8, 2016), https://www.vox.com/2016/6/8/11874908/mjia-
            26       military-sexual-assault-gillibrand-mccaskill; Donal Brown, Sex Crime Coverup:
                     Senators Attack Lack Of Transparency In Military Justice System, First Amendment
            27       Coalition (Dec. 10, 2015), https://firstamendmentcoalition.org/2015/12/sex-crime-
                     coverup-senators-attack-lack-of-transparency-in-military-justice-system/; Darren
            28       Samuelsohn, Military still secretive on sex crimes, POLITICO (Sept. 25, 2013),
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                     https://www.politico.com/story/2013/09/military-sexual-assault-transparency-097314.
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                 1
                     2016); see also Report of the Military Justice Review Grp. – Part I: UCMJ Recs. at
                 2
                     1014–15, https://jsc.defense.gov/Portals/99/MJRG%20Part%201.pdf (“Report”)
                 3
                     (proposing Art. 140a and using same language to describe its purpose).
                 4
                              52.   According to the Military Justice Review Group, obtaining access to
                 5
                     court-martial records through the FOIA is “time-consuming” and insufficient. Report
                 6
                     at 1011. This group proposed the new article to “enhance efficiency and oversight” as
                 7
                     well as “increase transparency in the system and foster public access to releasable
                 8
                     information.” Id. at 139. The new article aimed to provide “members of the public
                 9
                     access to all unsealed court-martial documents” as well as court-martial dockets “in a
            10
                     manner similar to that available in the federal civilian courts.” Id. at 28, 36. The
            11
                     report recommended using “the experience of federal and state systems” as a guide.
            12
                     Id. at 1012.
            13
                              53.   Congress generally intends “that, to the extent ‘practicable,’ trial by court-
            14
                     martial should resemble a criminal trial in a federal district court.” United States v.
            15
                     Valigura, 54 M.J. 187, 191 (C.A.A.F. 2000).
            16
                                      A 2018 memorandum and the Navy’s 2020 instructions
            17
                                           misinterpret Art. 140a and the Privacy Act
            18                54.   In 2018, former Department of Defense General Counsel Paul C. Ney, Jr.
            19       issued a memorandum advising the Secretaries of the Military Departments on
            20       implementation of Art. 140a. It stated that if he determined “the law is changed” to
            21       exempt the release of military court records and docket information from the Privacy
            22       Act, the records would be published online “as soon as practicable.” Ney Memo. for
            23       Secretaries of the Military Departments at 2, 5 (Dec. 17, 2018) (Enclosure 1 to JAG
            24       Instr. 5813.2), https://www.jag.navy.mil/library/instructions/JAGINST_5813.2.pdf
            25       (“Ney Memo”). But if he concluded that the Privacy Act did apply, these records and
            26       information would be published “as soon as practicable after the certification of the
            27       record of trial[.]” Id. at 6.
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                 1
                              55.   Two years later, OJAG issued instructions pursuant to the Ney Memo,
                 2
                     implementing Art. 140a. JAG Instr. 5813.2, https://www.jag.navy.mil/library/
                 3
                     instructions/JAGINST_5813.2.pdf. These instructions assume the Privacy Act applies
                 4
                     in all courts-martial, without any analysis, and prohibit the release of any court records
                 5
                     unless the accused is convicted and then only after the case has ended and within a 45-
                 6
                     day period following “certification” of the record. Id. at 2–3. Upon information and
                 7
                     belief, in practice, OJAG actually withholds access to court records until all appeals
                 8
                     have been exhausted.
                 9
                              56.   In the event of a full acquittal, the instructions state, no records shall be
            10
                     published. Id. at 3. Even in those cases where the accused is convicted, numerous
            11
                     court records are never made available to the public. These include attachments and
            12
                     “supporting evidence” submitted in connection with a filing, any trial exhibits,
            13
                     transcripts of “any proceedings,” the preliminary hearing’s officers report, “[p]re-trial
            14
                     matters” (including, among other things, witness lists, requests for instructions, and
            15
                     proposed voir dire), plea agreements, and even several types of court orders, such as
            16
                     protective orders, sealing orders, and contempt orders. Id. at Encl. 3 at 1–3.
            17
                              57.   The Privacy Act restricts government agencies from releasing certain
            18
                     personally identifiable information without prior written consent, with numerous
            19
                     exceptions, including for disclosures required by FOIA. See 5 U.S.C. § 552a. The Act
            20
                     was “not designed to interfere with access to information by the courts.” 120 Cong.
            21
                     Rec. 36,967 (1974), reprinted in Source Book at 958–59,
            22
                     https://www.justice.gov/opcl/PAOverview_SourceBook/download.
            23
                              58.   The Privacy Act must be read in conjunction with Art. 140a to permit
            24
                     timely public access to court-martial records and docket information at all stages of the
            25
                     proceedings. The Act does not justify permanently depriving the public of entire
            26
                     court-martial records (in cases ending in acquittal) or large swaths of those records (in
            27
                     cases ending in conviction) and delaying the release of these records until they are no
            28
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                 1
                     longer newsworthy. See ABC, Inc. v. Stewart, 360 F.3d 90, 99 (2d Cir. 2004) (“The
                 2
                     ability to see and to hear a proceeding as i[t] unfolds is a vital component of the First
                 3
                     Amendment right of access. . . .”).
                 4
                              59.   Upon information and belief, the government routinely publishes the
                 5
                     charge sheet and sometimes also search warrant materials in connection with court-
                 6
                     martial proceedings despite the Privacy Act.
                 7
                              60.   Further, the Army has posted court records in virtual reading rooms
                 8
                     during other high-profile court-martial proceedings. See, e.g., Ctr. For Const. Rts. v.
                 9
                     Lind, 954 F. Supp. 2d 389, 403 (D. Md. 2013) (noting that during court-martial of
            10
                     Bradley (now Chelsea) Manning, “the Army released to the public, on the internet, in
            11
                     readily downloadable form, the vast majority of the documents that had been filed”);
            12
                     United States v. Bergdahl, Hearing Tr. 112–13 (Attachment A to Govt. Response to
            13
                     Defense & ProPublica Motions for Release of Documents, https://bit.ly/3RTMfkY)
            14
                     (order by military judge requiring government to publish online, on an ongoing basis,
            15
                     unclassified court documents within 24-48 hours of filing).
            16
                              61.   In any event, the Privacy Act does not apply in this case because Mr.
            17
                     Mays agreed to waive any Privacy Act interests he might have to prevent disclosure of
            18
                     these records.
            19
                              62.   Art. 140a requires the Armed Services to facilitate “public access to
            20
                     docket information.” § 940a(a)(4). The Navy JAG Corps purports to comply with this
            21
                     requirement by providing what it calls a “docket” for court-martial cases, but it only
            22
                     provides limited general information about these cases, such as the last name and first
            23
                     initial of the accused, the charges, hearing location, and procedural stage of the case.
            24
                     See https://jag.navylive.dodlive.mil/Military-Justice/Docket/. This so-called “docket”
            25
                     omits information necessary to follow the case, such as the motions, orders, or other
            26
                     documents filed in the case and when upcoming hearings and trial will occur.
            27

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                 1       The public and press have a contemporaneous right of access to military court
                 2          proceedings and records under the First Amendment and common law

                 3
                             63.   The public has a qualified First Amendment and a common law right to

                 4
                     attend criminal trials and pre-trial proceedings and to access related court filings,

                 5
                     including, among others, pre-trial motions and judicial orders. 7 These are rights of

                 6
                     contemporaneous public access. Such timely access is necessary to ensure the public

                 7
                     has a meaningful opportunity to understand the proceedings as they occur and to

                 8
                     oversee and scrutinize the criminal justice system when the information is current and

                 9
                     newsworthy.

            10
                             64.   The public and press also have a First Amendment and common law right

            11
                     to inspect public docket sheets, which provide the public with notice of case

            12
                     developments, the motions and other documents that have been filed, any orders that

            13
                     have been issued, and when judicial proceedings are scheduled to occur.

            14
                             65.   These rights apply with equal force to court-martial proceedings and

            15
                     related records, including the court records submitted in the Mays case.8

            16
                             66.   The First Amendment presumption of access may be overcome only by

            17
                     findings that: (1) closure is necessary to further a compelling governmental interest,

            18
                     (2) the closure is narrowly tailored to serve that interest, and (3) no less restrictive

            19
                     means are available to adequately protect that interest. See Press-Enterprise Co. v.

            20
                     Superior Ct., 478 U.S. 1, 13–14 (1986) (“Press-Enterprise II”).

            21
                             67.   The common law right recognizes “a strong presumption in favor of

            22
                     access” and requires a balancing of the “competing interests.” United States v. Bus. of

            23       7
                              See, e.g., Press-Enterprise Co. v. Superior Ct., 478 U.S. 1, 13 (1986) (“Press-
            24       Enterprise II”) (recognizing First Amendment right of access to pre-trial criminal
                     hearing and associated transcript); Associated Press v. U.S. Dist. Ct., 705 F.2d 1143,
            25       1145 (9th Cir. 1983) (recognizing First Amendment right of access to “pretrial
            26       documents in general” in criminal cases).
                     8
                              See, e.g., United States v. Scott, 48 M.J. 663, 666 (A.C.C.A. 1998) (finding that
            27       military judge abused discretion by sealing entire stipulation of fact without identifying
            28       an “overriding interest” necessitating sealing or making any findings as required by
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                     First Amendment right of access).
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                 1
                     Custer Battlefield Museum & Store, 658 F.3d 1188, 1194–95 (9th Cir. 2011). It can
                 2
                     only be overcome by “compelling reasons . . . that outweigh the general history of
                 3
                     access and the public policies favoring disclosure.” Id.
                 4
                              68.   Because the First Amendment right of access applies here, the more
                 5
                     stringent constitutional standard that governs the withholding of court records must be
                 6
                     satisfied. Any compelling interest in favor of keeping such records secret must be
                 7
                     supported by findings specific enough that a reviewing court can determine whether
                 8
                     sealing is permissible. Press-Enterprise II, 478 U.S. at 9–10.
                 9
                              69.   The Ney Memo and the 2020 JAG instructions violate these First
            10
                     Amendment and common law rights of access because they prohibit the public and
            11
                     news organizations, such as ProPublica, from gaining access to court martial records
            12
                     and dockets in a timely manner. Commander Butler further violated these First
            13
                     Amendment and common law rights of access by denying ProPublica’s motion for
            14
                     access to those records in Mays. Defendants continue to violate these rights as they
            15
                     have not articulated any compelling government interest that necessitates the blanket
            16
                     withholding of these records, much less made any showing of narrow tailoring or that
            17
                     this is the least restrictive means to address that alleged interest.
            18
                              70.   In addition, ProPublica has a First Amendment right to “receive
            19
                     information and ideas” from willing speakers, including Mr. Mays, who would like to
            20
                     exercise his First and Sixth Amendment rights to disclose the court records filed in his
            21
                     case to ProPublica. See, e.g., Kleindienst v. Mandel, 408 U.S. 753, 762–63 (1972).
            22
                     But he has been effectively prevented from doing so by OJAG and the military judge’s
            23
                     position restricting the release of court records. Defendants have violated ProPublica’s
            24
                     rights by preventing Mr. Mays from sharing these records.
            25

            26

            27

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                 1                                     CAUSES OF ACTION
                 2                                             Count I
                 3                                         (All Defendants)
                 4                         Declaratory Judgment under 28 U.S.C. § 2201
                 5                             (First Amendment and Common Law)
                 6            71.   ProPublica repeats and re-alleges the foregoing paragraphs as if fully
                 7   restated and set forth herein.
                 8            72.   Defendants, as government actors and public officials, by denying
                 9   ProPublica contemporaneous access to docket information and the court record in
            10       Mays—including, among other things, judicial orders, motions filed by the defense and
            11       prosecution, and the preliminary hearing officer’s report—have violated ProPublica’s
            12       First Amendment and common law rights of access to the proceedings and records.
            13                73.   ProPublica is informed and believes that Defendants routinely deprive the
            14       public of docket information and virtually the entire court-martial record (aside from
            15       the charge sheet and, potentially, search warrant materials that support the
            16       prosecution’s position) and that they do so as a matter of policy and practice. Further,
            17       Defendants never disclose the court records when an accused is acquitted and they
            18       only permit the release of certain limited portions of the record when the defendant is
            19       convicted and then only after a lengthy delay, while omitting critical portions of the
            20       record—such as any attachments, supporting evidence, transcripts, and even certain
            21       court orders—without any justification. Such denials of court access are not supported
            22       by any case-specific, on-the-record findings demonstrating why particular records
            23       must be withheld from the public.
            24                74.   Defendants have violated the public’s rights of access to court-martial
            25       proceedings and related records guaranteed by the First Amendment and common law,
            26       which Art. 140a was intended to vindicate.
            27                75.   An actual controversy therefore exists within this Court’s jurisdiction, and
            28       the Court should declare ProPublica’s rights as set forth herein. Even if the Mays trial
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                 1
                     concludes prior to a ruling by this Court, such declaratory relief is still needed to
                 2
                     ensure proper release of these records, given Defendants’ restrictive policy of
                 3
                     withholding at least significant portions of the records permanently, as set forth above.
                 4
                              76.   In addition, the Court should declare that Mr. Mays may exercise his First
                 5
                     Amendment and Sixth Amendment rights to share the court records submitted in the
                 6
                     Mays case with ProPublica and other members of the press and public.
                 7
                                                               Count II
                 8
                                                           (All Defendants)
                 9
                                              Preliminary and Permanent Injunction
            10
                                               (First Amendment and Common Law)
            11
                              77.   Plaintiff repeats and re-alleges the foregoing paragraphs as if fully
            12
                     restated and set forth herein.
            13
                              78.   Continued withholding of the court records has caused and will continue
            14
                     to cause irreparable harm to the public and ProPublica. Keeping these court records
            15
                     and docket information secret impairs ProPublica’s ability to gather and report the
            16
                     news and infringes its First Amendment and common law rights of access to such
            17
                     court-martial proceedings. This, in turn, deprives the public of its First Amendment
            18
                     and common law rights of access, preventing it from being able to meaningfully
            19
                     understand and assess the Mays proceedings, the orders the judge has issued, the
            20
                     government’s controversial decision to prosecute Mr. Mays, and any verdict issued in
            21
                     the case.
            22
                              79.   There is a significant public interest in contemporaneous access to court-
            23
                     martial proceedings and related court records, including the Mays trial. Such
            24
                     proceedings adjudicate matters of extraordinary public interest concerning charges of
            25
                     criminal conduct by members of the Armed Forces. The public has a powerful interest
            26
                     in ensuring that such individuals are not wrongfully deprived of their liberty and that
            27
                     justice is served through this process.
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                 1
                              80.   Defendants, who are government actors and public officials, have offered
                 2
                     no valid justification for depriving the press and the public of access to these public
                 3
                     court records. The balance of interests strongly favors transparency.
                 4
                              81.   Even if the Mays trial concludes prior to a ruling by this Court,
                 5
                     ProPublica’s request for injunctive relief would not be moot. Defendants have a policy
                 6
                     of denying public access to docket information and court records in all court-martial
                 7
                     cases, without any valid basis for doing so, based on the 2018 memorandum by the
                 8
                     Department of Defense General Counsel, now Ms. Krass, and the 2020 instructions
                 9
                     from OJAG, now led by Vice Admiral Crandall Jr. Thus, the denial of access will
            10
                     undoubtedly continue.
            11
                                                              Count III
            12
                                                           (All Defendants)
            13
                                                         Writ of Mandamus
            14
                                               (First Amendment and Common Law)
            15
                              82.   Plaintiff repeats and re-alleges the foregoing paragraphs as if fully
            16
                     restated and set forth herein.
            17
                              83.   Defendants, by denying ProPublica, as a member of the public and the
            18
                     press, access to court records and docket information in the court-martial proceedings
            19
                     against Mr. Mays, have violated ProPublica’s First Amendment and common law
            20
                     rights of access. In doing so, Defendants as government actors and public officials
            21
                     have failed to perform their clear duties to uphold the constitutional rights of the public
            22
                     and press.
            23
                              84.     Accordingly, Defendants are subject to a writ of mandamus issued by
            24
                     this Court pursuant to the authority granted in 28 U.S.C. § 1361.
            25
                              85.   ProPublica’s right of access to the Mays court-martial proceeding,
            26
                     guaranteed under the First Amendment and common law, has been and continues to be
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                     irreparably harmed by Defendants’ decision to withhold the court records and docket
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                 1
                     information instead of releasing those records in a timely manner as the case and trial
                 2
                     are ongoing. As a result, this Court should issue a writ of mandamus directing
                 3
                     Defendants to cause the court records and docket information in this case to be
                 4
                     immediately released and to continue to publicly release such records and information
                 5
                     as they are filed throughout the rest of the Mays proceedings, consistent with the First
                 6
                     Amendment and common law.
                 7
                                                              Count IV
                 8
                                                   (Defendant Lloyd J. Austin III)
                 9
                                                         Writ of Mandamus
            10
                                                    (10 U.S.C. § 940a (Art. 140a))
            11
                              86.   Plaintiff repeats and re-alleges the foregoing paragraphs as if fully
            12
                     restated and set forth herein.
            13
                              87.   Secretary of Defense Lloyd J. Austin III, by failing to prescribe uniform
            14
                     standards and criteria for conduct as to the “facilitation of public access to docket
            15
                     information, filings, and records,” has failed to perform a duty owed to ProPublica and
            16
                     the public under Art. 140a. 10 U.S.C. § 940a. Accordingly, Secretary Austin is
            17
                     subject to a writ of mandamus issued by this Court pursuant to the authority granted in
            18
                     28 U.S.C. § 1361.
            19
                              88.    ProPublica’s right of access to the Mays court-martial proceeding, which
            20
                     was supposed to be furthered by the Secretary’s implementation of uniform standards
            21
                     under Art. 140a, has been and continues to be irreparably harmed by his failure to
            22
                     implement any such uniform standards consistent with this article. As a result, this
            23
                     Court should issue a writ of mandamus directing Secretary Austin to prescribe the
            24
                     uniform standards and criteria for conduct concerning public access to docket
            25
                     information, filings, and records, which are mandated by the Article.
            26
                                                      REQUEST FOR RELIEF
            27
                     WHEREFORE, ProPublica respectfully requests that this Court:
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                 1
                              (1) issue a declaratory judgment that (i) the First Amendment and common law
                 2
                     presumptions of contemporaneous public access to court records and docket
                 3
                     information apply to court-martial proceedings, including the Mays case, and that the
                 4
                     Defendants’ denial of timely access to such records and information violates these
                 5
                     rights, and (ii) that Mr. Mays may exercise his First and Sixth Amendment rights to
                 6
                     release these court records to ProPublica and other members of the press and public;
                 7
                              (2) issue a preliminary injunction (i) enjoining Defendants from continuing to
                 8
                     withhold court records and docket information from the public in court-martial
                 9
                     proceedings, including in the Mays case, in violation of the public’s First Amendment
            10
                     and common law rights of contemporaneous access, and (ii) requiring Defendants to
            11
                     immediately release the court records already submitted in the Mays case, to make any
            12
                     future court records available to the public contemporaneously with their filing, and to
            13
                     release docket information that is continually updated to enable the public to
            14
                     meaningfully follow the proceedings, consistent with the First Amendment and
            15
                     common law;
            16
                              (3) issue a permanent injunction to the same effect;
            17
                              (4) issue such writs of mandamus as may be necessary to ensure that (i)
            18
                     Defendants comply with the declarations and rulings of this Court with respect to
            19
                     ProPublica’s First Amendment and common law rights of access to documents and
            20
                     other materials generated during the Mays court-martial trial and related proceedings,
            21
                     and (ii) the Secretary of Defense issues the required uniform standards and criteria of
            22
                     conduct consistent with the directives of Art. 140a;
            23
                              (5) award ProPublica reasonable attorney’s fees and costs incurred in this action
            24
                     under the Equal Access to Justice Act, 28 U.S.C. § 2412(d)(1)(A); and
            25
                              (6) grant such other relief as the Court may deem just and proper.
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                 1   DATED: September 27, 2022                        Respectfully submitted,
                 2                                                    GIBSON, DUNN & CRUTCHER LLP
                 3
                                                                      By: /s/ Theodore J. Boutrous, Jr.
                 4                                                       Theodore J. Boutrous, Jr.
                                                                         Gibson, Dunn & Crutcher LLP
                 5
                                                                      Attorney for ProPublica
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                 1                                 CERTIFICATE OF SERVICE
                 2            I hereby certify that I caused the foregoing document to be filed with the Clerk
                 3   of Court using the CM/ECF system. I further certify that on today’s date I caused the
                 4   following parties to be served via express mail and certified mail and/or personal
                 5   delivery:
                 6

                 7
                     COMMANDER DEREK D. BUTLER, JAGC, USN
                     Military Judge, U.S. Navy
                 8   U.S. Navy-Marine Corps Trial Judiciary
                 9
                     1250 10th Street SE, Suite 1300
                     Washington Navy Yard, D.C. 20374-5140
            10       derek.butler2.mil@us.navy.mil
            11       VICE ADMIRAL DARSE E. CRANDALL, JAGC, USN
            12       Judge Advocate General of the Navy
                     1322 Patterson Ave., Suite 3000
            13       Washington Navy Yard, D.C. 20374-5066
                     sylvaine.w.wong.mil@us.navy.mil
            14

            15       CARLOS DEL TORO
                     Secretary of the Navy
            16       United States Navy
            17       1000 Navy Pentagon
                     Washington, D.C. 20350-1200
            18
                     CAROLINE D. KRASS
            19       General Counsel
                     Department of Defense
            20       1600 Defense Pentagon
                     Washington, D.C. 20301-16000
            21       denise.v.shellman.civ@mail.mil
                     robert.e.easton2.civ@mail.mil
            22
                     MERRICK B. GARLAND
            23       Attorney General of the United States
                     U.S. Department of Justice
            24       950 Pennsylvania Avenue, NW
                     Washington, DC 20530-0001
            25
                     RANDY GROSSMAN
            26       Attn: Civil Process Clerk
                     U.S. Attorney’s Office Southern District of California
            27       Federal Office Building
                     880 Front Street, Room 6293, 6th Floor
            28       San Diego, California 92101-8893
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Gibson, Dunn &
 Crutcher LLP
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                 2   Date: September 27, 2022                         /s Theodore J. Boutrous, Jr.
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